   19-13895-jlg      Doc 157     Filed 10/30/19 Entered 10/30/19 21:08:26            Main Document
                                              Pg 1 of 5



                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

IN RE:                                        §
                                              §       BANKRUPTCY NO. 19-10926-TMD
ORLY GENGER,                                  §
                                              §       CHAPTER 7 PROCEEDING
DEBTOR                                        §


         ERIC HERSCHMANN’S OPPOSITION TO MOTION TRANSFER VENUE

TO THE HONORALBE TONY M. DAVIS, UNITED STATES BANKRUPTCY JUDGE:

       Eric Herschmann (“Herschmann”) is a creditor and party in interest in the above entitled

cause and most significantly is Orly Genger’s (Orly”) husband and files this his Opposition to Sagi

Genger’s Motion to Transfer Venue and for his opposition would show the Court as follows:

       1.        Orly, Kasowitz Benson Torres LLP (“KBT”), and Arie Genger have each filed papers

in opposition to Sagi Genger’s Motion to Transfer Venue (“Venue Motion”). Those pleadings

adroitly set both forth factual and legal premise for denial of relief requested in the Venue Motion.

Herschman adopts Orly’s Amended Response to Transfer Venue [ECF No. 153], KBT’s Opposition

to Motion to Transfer Venue [ECF No. 154] and Arie Genger’s Limited Objection to the Transfer of

Chapter 7 Bankruptcy Case.


       2.        Herschmann and Orly met in 2014 in Austin, Texas. In 2016 they were married. Their

marriage was Orly’s first marriage.       In 2017 Orly gave birth to a daughter, her first child.

Unfortunately, for at least the last 10 years Orly’s life has been scarred by litigation between members

of her family.




ERIC HERSCHMANN’S OPPOSITION TO MOTION TRANSFER VENUE                                       Page 1 of 5
   19-13895-jlg     Doc 157     Filed 10/30/19 Entered 10/30/19 21:08:26           Main Document
                                             Pg 2 of 5

       3.      In late June 2018 a judgment obtained by Sagi Genger against Orly was affirmed by

the 2nd Circuit Court of Appeals. Her brother commenced a “scorched earth” effort to collect his

judgment from Orly. A judgment which Orly is unable to pay. Indeed, Orly has no significant assets.


       4.      On July 12, 2019 Orly filed her voluntary petition initiating this Chapter 7 case.

Hopelessly insolvent and unable to pay her brother’s judgment, Orly’s bankruptcy was economically

justified. However, the primary purpose of Orly’s filing was to close the book on the acrimonious

family life with her brother and allow her to move on with her new family free from the toxic past.

Thjs bankruptcy case gives true meaning to the concept of a fresh start.


       5.      The evidence will show that venue in this district is proper under 28 U.S.C. Section

1408. The evidence will also show that neither justice nor convenience will be served by transferring

venue pursuant to 28 U.S.C. § 1412.


       6.      In his Motion to Transfer Venue at paragraph 52, Sagi Genger alleges that “virtually

every other creditor or party – including her (non-estranged) husband, according to the web site of

his law firm, lives and/or works in New York.” This allegation is false and Sagi knows as much.


       7.      Herschmann’s domicile has been in Austin Texas since at least 2011. His homestead

acquired in 2012 is located in Austin Texas. While Herschmann has spent time in Israel during the

Jewish holidays, his domicile and homestead have never changed.


       8.      KBT’s webpage does reflect that Herschmann is a partner in the New York office.

However, since his employment at Southern Union in 2005 through the completion of his obligations

to Energy Tranfer in approximately 2015, Herschmann had limited to no working relationship with

KBT, although he remained a partner with the firm.



ERIC HERSCHMANN’S OPPOSITION TO MOTION TRANSFER VENUE                                     Page 2 of 5
   19-13895-jlg      Doc 157      Filed 10/30/19 Entered 10/30/19 21:08:26              Main Document
                                               Pg 3 of 5

        9.      Other than his direct participation in the Genger v. Genger litigation, Herschmann has

not actively practiced law in the traditional sense for nearly 15 years. Herschmann is licensed to

practice in the State of Texas and conducts his business and personal affairs primarily from his home

in Austin, Texas. Herschmann has not been in KBT’s New York office for over 18 months.


        10.     Herschmann neither works nor lives in New York and has not for many years.


        11.     Transfer of this case to New York would be burdensome to Herschmann. Aside from

the cost and disruption associated with prosecuting this case in a distant court, Herschmann and Orly

own undivided one-half interests in a condominium in downtown Austin, Texas. Multiple parties,

including all of the Sagi Genger affiliated entities, have objected to Orly’s homestead claim. The

issues presented in connection with this property owned as joint tenants are purely issues of Texas

law and the facts relative to that property and its disposition are entirely local and should not be left

to a New York court for determination.


                                             CONCLUSION


        12.     This District is the only proper venue for this case. The Venue Motion fails to demonstrate

adequate grounds to transfer the bankruptcy case to a new venue. The Venue Motion should be denied in

all respects.


        WHEREFORE, Eric Herschmann respectfully requests that the Court deny the Motion in all

respects and grant such other relief as is just and proper.




ERIC HERSCHMANN’S OPPOSITION TO MOTION TRANSFER VENUE                                          Page 3 of 5
   19-13895-jlg        Doc 157       Filed 10/30/19 Entered 10/30/19 21:08:26          Main Document
                                                  Pg 4 of 5

Dated: October 3, 2019

                                               By: /s/ Raymond Battaglia_________
                                               Raymond W. Battaglia
                                               Texas Bar No. 01918055
                                               LAW OFFICES OF RAY BATTAGLIA, PLLC
                                               66 Granburg Circle San Antonio, Texas 78218
                                               Tel.: (210) 601-9405
                                               Fax: (210) 855-0126
                                               rbattaglialaw@outlook.com

                                               COUNSEL TO ERIC HERSCHMANN


                                      CERTIFICATE OF SERVICE

        On October 3, 2019 a true and correct copy of the foregoing document was filed with the
Court and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system, as set forth below. I further certify that it has been transmitted by first class
mail to the following

 United States Trustee                               Brian Cumings
 903 San Jacinto, Suite 230                          Graves Dougherty Hearon & Moody
 Austin, TX 78701-2450                               401 Congress Avenue Suite 2700
                                                     Austin, Texas 78701

 Internal Revenue Service                            Kasowitz, Benson, Torres LLP
 Centralized Insolvency Operations                   Attn: Daniel Benson, Esq.
 PO Box 7346                                         1633 Broadway, 21st Floor
 Philadelphia, PA 19101-7346                         New York, NY 10019-6708

 Zeichner Ellman & Krause LLP                        Orly Genger
 1211 Avenue of the Americas, 40th Floor             210 Lavaca St., Unit 1903
 New York, NY 10036-6149                             Austin, TX 78701-4582


 Arie Genger                                         Eric J. Taube
 19111 Collins Ave., Apt. 706                        Waller Lansden Dortch & Davis, LLP
 Sunny Isles, FL 33160-2379                          100 Congress Ave., Suite 1800
                                                     Austin, TX 78701-4042

 SureTec Insurance Co.                               Arie Genger
 c/o Clark Hill Strasburger                          c/o Deborah D. Williamson
 901 Main Street, #6000                              Dykema Gossett PLLC
 Dallas, Texas 75202                                 112 East Pecan St., Suite 1800
                                                     San Antonio, TX 78205




ERIC HERSCHMANN’S OPPOSITION TO MOTION TRANSFER VENUE                                       Page 4 of 5
   19-13895-jlg     Doc 157     Filed 10/30/19 Entered 10/30/19 21:08:26         Main Document
                                             Pg 5 of 5

 Sagi Genger                                     The Orly Genger 1993 Trust
 c/o John Dellaportas                            c/o Jay Ong
 Emmt Marvin & Martin LLP                        Munsch Hardt Kopf & Harr PC
 120 Broadway, 32nd Floor                        303 Colorado Street, #2600
 New York, NY 10271-3291                         Austin, Texas 78701

 Sabrina L. Streusand                            Shelby A. Jordan
 Streusand Landon, Ozburn & Lemmon, LLP          Jordan Hyden Womble Culbreth & Holze, PC
 1801 S. Mopac Expressway                        500 N Shoreline Suite 900 N
 Suite 320                                       Corpus Christi, TX 78401
 Austin, TX 78746

                                           /s/ Raymond Battaglia_________
                                           Raymond W. Battaglia




ERIC HERSCHMANN’S OPPOSITION TO MOTION TRANSFER VENUE                                       Page 5 of 5
